    Case 5:11-cr-40044-JAR    Document 116   Filed 08/25/11   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                Plaintiff,
     vs.                                Case No. 11-40044-14-RDR

AGUSTIN RAMIREZ-VILLA,

                Defendant.


                                 O R D E R

     On August 23, 2011, the above-captioned case came before the

court upon defendant’s pro se         motion for appointment of new

counsel.   Doc. No. 106.     The court listened to defendant and to the

comments of counsel for both sides.           The court concluded that

defense counsel has made a strong effort to communicate with

defendant and defendant’s wife, and to represent defendant before

the court.   Defendant said nothing to contradict this conclusion.

Defendant simply raised questions regarding whether the government

can prove its case and expressed frustration with the impact of

this prosecution upon himself and especially his family.

     The court believes that defendant and his counsel have not had

any breakdown in communication which would warrant the appointment

of new counsel.    Nor is the court aware of any other legitimate

cause to appoint new counsel. Therefore, defendant’s pro se motion

for appointment of new counsel shall be denied.

     The court will also repeat to defendant that this is a complex
    Case 5:11-cr-40044-JAR    Document 116    Filed 08/25/11   Page 2 of 2




case with 15 other defendants and a very large amount of discovery

for counsel to inspect.      It may take a considerable period of time

before the case is ready for trial.          Defendant is advised to work

through his counsel to make contact with the court, to ask for

court documents, and to file motions with the court.                Defendant

does not have the right to file motions with the court as long as

he has appointed counsel.        Also, defendant should not ask the

interpreter for court proceedings to contact his attorney on

defendant’s behalf.

     In conclusion, the court shall deny defendant’s pro se motion

for new counsel.

     IT IS SO ORDERED.

     Dated this 25th day of August, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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